 

“xz Case eee Document 9 Filed 10/26/05 . 1 of 2 Pury
- Ww UNITED STATES DISTRICT COUR LED G| IN A [

CENTRAL DISTRICT OF CALIFORNIA

CASE SUMMARY

(eos Lb.

 

 

 

 

 

 

 

  

Case Number Defendant Numberr cbt 26 Ph Les i

U.S.A. v. Sythe PAlicano er oA. Year of Birth tay eae ONY =

[% Indictment D information Investigative agency (FBI, DEA, etc.) FRI: : = : EAU: : of

1 nig yw i

NOTE: All items are to be completed. Information not applicable or unknown sl ‘indicated as "N/A". ws
an

OFFENSE/VENUE
a. Offense charged as a: O Petty Offense
C1 Misdemeanor (] Minor Offense m1 Felony
b. Date of offense Onu ois +y Mt a on
c. County it which first offeRse occurred

S

 

d. The crimes charged are alleged to have been committed in:
CHECK ALL THAT APPLY

Los Angeles D Ventura
0 Orange C) Santa Barbara
OD Riverside D San Luis Obispo

C) San Bernardino F] Other

Citation of offense EUS¢, Ca 3a, asn(iyla)

 

RELATED CASE

Has an indictment or information involving this defendant and

the same transaction or series of transactions been previously

filed and dismissed before trial? No Hi Yes
IF YES Case Number

 

Pursuant to Section 11 of General Order 224, criminal cases

may be related if a previously filed indictment or information

and the present case:

a. arise out of the same conspiracy, common scheme,
transaction, series of transactions or events; or

b. involve one or more defendants in common, and would
entail substantial duplication of labor in pretrial, trial or
sentencing proceedings if heard by difference judges.

Related te if any: MUST MATCH NOTICE OF RELATED

CASE

 

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PREVIOUSLY FILED COMPLAINT
A complaint was previously filed on:
Case Number
Charging | |

 

 

The complaint:
U1 was dismissed on:

 

 

Are there 8 or more defendants in the Indictment/Information?
D0 Yes* PNo

Will more than 12 days be required to present government’s

evidence in the case-in-chief?
0 Yes* FINo

*AN ORIGINAL AND 3 COPIES OF THE NOTICE OF
COMPLEX CASE MUST BE FILED 2 BUSINESS DAYS BEFORE
THE ARRAIGNMENT IF EITHER YES BOX IS CHECKED,

Superseding Indictment/Information

This is the N { \___ superseding charge, i.e. 1*, 2".

The superseding case was previously filed on:

 

Case Number

 

- The superseded case:

Lis still pending before Judge/Magistrate Judge

 

C was previously dismissed on

Are there 8 or more defendants in the superseding case?
0 Yes* ONo

Will more than 12 days be required to present government’s
evidence in the case-in-chief?
C] Yes* O1No

Notice of Complex Case filed on the Indictment or
ENI oR uN ICV Bformation?
ae

O ves ONo

RIGINAL AND 3 COPIES OF THE NOTICE OF
COMPLEX CASE MUST BE FILED 2 BUSINESS DAYS BEFORE

~~ “THE ARRAIGNMENT IF EITHER YES BOX IS CHECKED,

|
CO) is still pending os

Is an interpreter required: UO Yes ENo
IF YES, list language and/or dialect:

 

 

CR-72 (07/05)

CASE SUMMARY “@y

 
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UNITED STATES DISTRICT. COURT 'S
CENTRAL DISTRICT OF CALIFORNIA

 

 

 

 

_ CASE SUMMARY
OTHER CUSTODY STATUS

i Male Li Female Defendant is not in custody:
(US. Citizen D Alien a, Date and time of arrest on complaint:
Alias Name(s) N | Py b. Posted bond at complaint level on:

in the amount of $

“ian?

This defendant is charged in: All counts 4 Ln 5 ve A Ne
© Only counts: . Isa Fugitive es 0

 

e. Is on bail or release from another district:

O This defendant is designated as “High Risk” per

 

 

 

 

 

18 USC 3146(a)(2) by the U.S. Attorney f. D1 Has not been arrested but will be notified by summons
~~ ‘ to appear,
O This defendant is designated as “Special Case” g. Warrant requested. O Yes UNo
per 18 USC 3166(b)(7). .
Defendant is in custody:
Is defendant a juvenile? O Yes No a. Place of incarceration: 1 State [Federal
? euione ECA VG
IF YES, Should matter be sealed? 0 Yes O No b. Name of Institution: Lat
c. If Federal: U.S, Marshal's Registration Number:
The area of substantive law that will be involved in this case pe IS@S - Ha
includes: d. (1 Solely on this charge. Date and time of arrest:
4 financial institution fraud Ci public corruption e. On another conviction: FY Yes ONo
C] government fraud C tax offenses IF YES CO) State federal OD Writ of Issue
CJ environmental issues C) mail/wire fraud f. Awaiting trial on other charges: 0 Yes ONo
© Other: luuceba gene, IF YES OD) State O Federal AND

Name of Court:

Date transferred to federal custody: N Ib

This person/proceeding is transferred from another district
pursuant to F.R.CrP, 20 21 40

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EXCLUDABLE TIME
Determinations as to excludable time prior to filing indictment/information EXPLAIN: N I

 

 

 

 

Date _@ [ ablos

| Signature of Assistant U.S. Attorney

SDandl i. Naunders

| Print Name

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